del'lT. Dyi bA|_LJ.N,DI-\LL.LN d. FJ.DHNIHN, r'.u. :ruluc;.a u:r::u, uu;r_u;u.., v.\.“. ...,,m..._...,. ____,_

Case 2:04-cr-20256-.]PI\/| Document 170 Filed 08/24/05 Page 1 of 2 Page|D 235

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF 'I'ENNESSEE

 

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ORDER GRANTING MOTION TO CONTIN`UE

 

This cause came onto be heard upon the Motion to Continue filed by Counsel for

Det`¢ndant, Lcslic I. Ballin. lt appearing to the Court that the Motion is well taken and should be
granted
IT IS THEREFOR.E, ORDERED, ADJUDGED AND DECREED, by this Couxt that the

Senteucing Hearing currently scheduled for August 25, 2005`1s hereby continued to the__ ) ST

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be excluded under the Speedy Trial Acl. thU y m QO`.QQ`
m.lUDGE

DATE

Thls document entered on the docket sheetl compliance /YO
with Flule 55 ami/or 32{'0) F'HCrP on §'3_12’05

   

UNITED `SATES DISTRIC COUR - WETERN D'S'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

